            Case 5:19-cv-00824-OLG Document 9 Filed 11/15/19 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                               )
                                                 )
       Plaintiff,                                )   Civil Action Case No. 5:19-cv-00824-OLG
                                                 )
v.                                               )
                                                 )
JOHN DOE infringer using                         )
IP address 70.113.23.241,                        )
                                                 )
       Defendant.                                )
                                                 )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                           WITH PREJUDICE OF JOHN DOE

       PLEASE TAKE NOTICE, Plaintiff has settled this matter with John Doe (“Defendant”)

through his counsel. Pursuant to the settlement agreement’s terms, Plaintiff hereby voluntarily

dismisses Defendant from this action with prejudice. John Doe was assigned the IP Address

70.113.23.241. Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant John Doe has neither answered

Plaintiff’s Complaint nor filed a motion for summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for administrative

purposes.

Dated: November 15, 2019
                                                     Respectfully submitted,

                                                     By: /s/ Paul S. Beik
                                                     Paul S. Beik
                                                     Texas Bar No. 24054444
                                                     BEIK LAW FIRM, PLLC
                                                     8100 Washington Ave., Suite 1000
                                                     Houston, TX 77007
                                                     T: 713-869-6975
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                                                     ATTORNEY FOR PLAINTIFF



                                                 1
          Case 5:19-cv-00824-OLG Document 9 Filed 11/15/19 Page 2 of 2



                                CERTIFICATE OF SERVICE
       I hereby certify that, on November 15, 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record

and interested parties through this system.

                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK




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